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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                              )
In the Matter of the                          )
Federal Bureau of Prisons’ Execution          )
Protocol Cases,                               )
                                              )
LEAD CASE: Roane et al. v. Barr               )       Case No. 19-mc-145 (TSC)
                                              )
                                              )
THIS DOCUMENT RELATES TO:                     )
                                              )
Nelson v. Barr et al., 20-cv-557              )
                                              )


                    DEFENDANTS’ OPPOSITION TO PLAINTIFF
                KEITH NELSON’S EMERGENCY CROSS-MOTION FOR
                SUMMARY JUDGMENT ON FDCA CAUSES OF ACTION

       This Court should grant Defendants’ motion for summary judgment, ECF No. 170, and

deny Plaintiff Keith Nelson’s cross-motion for summary judgment, ECF No. 180, on Counts VIII

and XI of the Amended Complaint, which allege that the Federal Bureau of Prisons’ execution

protocol (“Protocol”) is arbitrary and capricious and contrary to law because it violates the Federal

Food, Drug, and Cosmetic Act (“FDCA”), and on Count X, which alleges that the Commissioner

of Food and Drugs of the Food and Drug Administration (“FDA”) has failed to exercise his

enforcement authority under the FDCA against BOP.

       These FDCA-related causes of action raise only pure issues of law on which the Supreme

Court has already indicated that Defendants are likely to prevail. It did so by vacating, without

any noted dissent, this Court’s preliminary injunction, ECF No. 145, issued in favor of Nelson and

three other inmates on the basis that the Protocol likely violated the FDCA. Barr v. Purkey, No.

20A10, 591 U.S. ___ (July 16, 2020) (per curiam) (“FDCA vacatur order”). 1 Nelson seeks to


1
 Compare with Barr v. Purkey, No. 20A9, 2020 WL 4006809, 591 U.S. ___ (July 16, 2020) (per
curiam) (vacating this Court’s preliminary injunction on Purkey’s Ford claim over four dissents)
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avoid the strong implication of that vacatur by arguing that “a vacatur on appeal of a preliminary

injunction is limited to a review of the preliminary injunction on that record.” ECF No. 180 at 5

n.2. While that may be true as a general matter, Nelson does not identify any new record evidence

that was unavailable to him in the preliminary injunction proceedings that would cast doubt on the

vacatur. Nor could he, for the questions presented, as Nelson concedes, see id. at 3, are purely

legal ones: whether the FDA has jurisdiction under the FDCA to regulate articles intended for use

to bring about death in the context of capital punishment, such as the pentobarbital at issue here,

and assuming the FDA does, whether Nelson has a private right of action to enforce the FDCA

against BOP. The Supreme Court’s vacatur necessarily reflects its view that Nelson is unlikely to

prevail as a legal matter.

        That is unsurprising because Nelson’s arguments are foreclosed by Supreme Court

precedent. Specifically, FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120 (2000),

teaches that the FDCA’s regulatory scheme—aimed at assuring the safety and efficacy of “drugs”

and “devices”—does not apply to substances intended to effectuate a death sentence. A contrary

finding would produce the implausible result that hundreds of executions carried out by lethal

injection by States and the federal government between the late 1970s and this past July without

complying with the FDCA’s prescription requirement were unlawful. And in any event, contrary

to Nelson’s argument, “[t]he FDA’s decision not to take . . . enforcement actions” to prevent the

use of drugs intended for use in lethal injection is “not subject to judicial review under the APA.”

Heckler v. Chaney, 470 U.S. 821, 837-38 (1985); see also 5 U.S.C. § 701(a)(2).

                                          ARGUMENT
   I.      BOP’S PROTOCOL IS NOT CONTRARY TO THE FDCA, NOR IS IT
           ARBITRARY AND CAPRICIOUS
        Nelson’s cross-motion relies heavily on this Court’s now-vacated FDCA preliminary

injunction order, see ECF No. 145, and the D.C. Circuit’s order denying Defendants’ motion to



and Barr v. Lee, No. 20A8, 2020 WL 3964985, 591 U.S. ___ (July 14, 2020) (per curiam) (vacating
this Court’s preliminary injunction on Eighth Amendment grounds over four dissents).
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stay the injunction, In re Federal Bureau of Prisons Execution Protocol Cases, No. 20-5206, Doc.

No. 1851933, at 1-3 (D.C. Cir. July 15, 2020). Such reliance is misplaced in light of the Supreme

Court’s order vacating the preliminary injunction. Purkey, No. 20A10.

       Moreover, as Defendants’ Motion for Summary Judgment demonstrates, see ECF No. 170

at 38-43, both of the rulings Nelson relies on placed undue significance on the D.C. Circuit’s

decision in Cook v. FDA, 733 F.3d 1 (D.C. Cir. 2013). The issue in Cook was whether the FDA

could exercise enforcement discretion over shipments of sodium thiopental that were being

imported by various state departments of corrections for use in executions. Importantly, “the FDA

[had] conceded before the district court that the … shipments” were an “unapproved new drug.”

Id. at 11; see generally Office of Legal Counsel Op., Whether the Food & Drug Admin. Has

Jurisdiction over Articles Intended for Use in Lawful Executions (May 3, 2019) (“OLC Op.”),

2019 WL 2235666 at *14, AR 958. Cook, therefore, had no occasion to address the antecedent

question of whether FDA has jurisdiction over articles intended for use in capital punishment. See

United States v. L.A. Tucker Truck Lines, Inc., 344 U.S. 33, 38 (1952) (“The effect of the omission

was not there raised in briefs or argument nor discussed in the opinion of the Court. Therefore,

the case is not a binding precedent on this point.”); Legal Servs. Corp. v. Velazquez, 531 U.S. 533,

557 (2001) (Scalia, J. dissenting) (“Judicial decisions do not stand as binding ‘precedent’ for points

that were not raised, not argued, and hence not analyzed.”); see also Camara v. Mastro's

Restaurants LLC, 340 F. Supp. 3d 46, 54 (D.D.C. 2018) (“Of course, a decision ‘is not a binding

precedent’ on an issue not pressed by the parties or passed on by the Court.” (quoting L.A. Tucker,

344 U.S. at 38)), aff’d, 952 F.3d 372 (D.C. Cir. 2020).

       In fact, as Nelson notes, see ECF No. 180 at 5-6, the D.C. Circuit, in denying Defendants’

motion to stay the FDCA preliminary injunction, specifically noted that “the Supreme Court ha[d]

expressly declined to resolve this ‘thorny’ jurisdictional question.” Execution Protocol Cases, No.

20-5206, Doc. No. 1851933, at 3 (quoting Chaney, 470 U.S. at 828). Of course, following the

D.C. Circuit’s order, the Supreme Court vacated the FDCA preliminary injunction without noted

dissent, strongly indicating that it would resolve that question in the Government’s favor on the

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merits (or, at a minimum, that Nelson has no right to sue the FDA for allegedly failing to enforce

the statute against the BOP).

        Indeed, Nelson’s contrary position cannot be reconciled with the logic of Brown &

Williamson, which held that the FDA lacked jurisdiction to regulate customarily marketed tobacco

products. 529 U.S. at 134–37. The Supreme Court reasoned that if such tobacco products were

regulated as “drugs” or “devices,” the FDCA would prohibit their sale because such products could

not be found to be “safe” or “effective” for their intended use. Id. at 136. However, Congress’s

post-FDCA legislative enactments conveyed a clear intent that “cigarettes and smokeless tobacco

[would] continue to be sold in the United States.” Id. at 139. And, the Court explained, “the

meaning of one statute may be affected by other Acts, particularly where Congress has spoken

subsequently and more specifically to the topic at hand.” Id. at 133. “The inescapable conclusion,”

the Court found, “is that there is no room for tobacco products within the FDCA’s regulatory

scheme. If they cannot be used safely for any therapeutic purpose, and yet they cannot be banned,

they simply do not fit.” Id. at 143. 2

        The inescapable conclusion of applying Brown & Williamson to the lethal injection context

is that a drug intended for use to bring about death as part of an execution cannot be approved by

the FDA as “safe and effective.” See OLC Op., 2019 WL 2235666 at *4, AR 943 (citing Chaney,

470 U.S. at 827 (granting certiorari to review the “implausible” result that “the FDA is required to

exercise its enforcement power to ensure that States only use drugs that are ‘safe and effective’ for

human execution”)); OLC Op., 2019 WL 2235666 at *8, AR 948 (“[T]here is no way products

intended to carry out capital punishment could ever satisfy [a] . . . test[] under which ‘a drug is

unsafe if its potential for inflicting death . . . is not offset by the possibility of therapeutic benefit.’”

(quoting United States v. Rutherford, 442 U.S. 544, 556 (1979))). If articles intended for use in

bringing about death were regulated as “drugs” or “devices,” the FDCA would prohibit their sale.


2
 Congress subsequently granted FDA authority specific to tobacco products in the Tobacco
Control Act, 21 U.S.C. § 387 et seq.


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529 U.S. at 134–37; see also OLC Op., 2019 WL 2235666 at *7, AR 947 (“If the FDCA applied

to electric chairs, gallows, gas chambers, firearms used in firing squads, and substances used in

lethal-injection protocols, the statute would effectively ban those articles.”).

       Indeed, “[s]everal provisions in the [FDCA] require the FDA to determine that the product

itself is safe as used by consumers”—i.e., that “the product’s probable therapeutic benefits …

outweigh its risk of harm.” Brown & Williamson, 529 U.S. at 140; see 21 U.S.C. 355(b)(1), (d).

That standard is inapposite for drugs intended to cause death as part of an execution. Even tobacco

products, which the FDA found “might be effective in delivering certain pharmacological effects,”

were deemed “‘unsafe’ and ‘dangerous’ when used for these purposes” and, therefore, would be

required to be banned under the FDCA if the FDA were deemed to have jurisdiction over such

products. Brown & Williamson, 529 U.S. at 143. Just so for lethal injection drugs used for the

purpose of carrying out a capital sentence. Just as with tobacco products, if such drugs intended

to carry out executions were within the jurisdiction of the “the FDCA, the FDA would be required

to remove them from the market.” Id. at 135; see also OLC Op., 2019 WL 2235666 at *7, AR 947

(opining that the same would be true for “articles intended for use in executions”).

       But doing so would “contradict Congress’ clear intent” under the FDPA. Brown &

Williamson, 529 U.S. at 143. The FDPA requires the federal government to use the State’s manner

of execution. 18 U.S.C. § 3596(a). At the time of the FDPA’s enactment in 1994, many states

permitted execution exclusively by lethal injection, and lethal injection was the sole method of

execution prescribed by federal regulation, 28 C.F.R. 26.3(a)(4); see 57 Fed. Reg. 56,536, 56,536

(Nov. 30, 1992) (identifying lethal injection as “increasingly … the method of execution in the

states”). Yet Congress enacted the FDPA’s detailed execution framework without referencing the

FDCA. That is powerful evidence of the common-sense view that Congress did not intend drugs

intended for use in lethal injection to be regulated under the FDCA in the respects relevant here.

Brown & Williamson, 529 U.S. at 143 (“The ‘classic judicial task of reconciling many laws enacted

over time, and getting them to ‘make sense’ in combination, necessarily assumes that the

implications of a statute may be altered by the implications of a later statute.’” (quoting United

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States v. Fausto, 484 U.S. 439, 453 (1988)); see also West v. Schofield, 519 S.W.3d 550, 571

(Tenn. 2017) (“Clearly, the federal government does not consider those of its own executions that

are conducted by lethal injection to violate a regulatory scheme for the prescription and use of

controlled substances.”). Likewise, the lack of any apparent objection from the executive,

legislative, or judicial branches to the hundreds of state executions conducted by lethal injection

of substances that have never been required to meet the FDCA’s prescription requirements strongly

reinforces this view. Today, all States that provide for a death penalty allow lethal injection as the

primary if not the only method. Accordingly, any interpretation of the FDCA in the lethal injection

context must take into account Congress’s enactment of the FDPA and the use of lethal injection

by the federal government and the States in hundreds of executions over multiple decades.

       Citing Brown & Williamson, Nelson recognizes that “the ‘core’ legislative purpose of the

FDCA is to ensure that a ‘drug’ is ‘safe and effective for its intended use.’” ECF No. 180 at 4. He

contends that this purpose can be served in this context by requiring BOP to obtain a prescription

for pentobarbital. But he does not explain how a drug intended to be used to bring about death in

the context of capital punishment can be made safe and effective through a prescription. Nor does

he request an injunction that requires BOP to obtain a prescription. Rather, he seeks an injunction

barring his execution altogether—a tacit acknowledgement that under his theory, even if the

federal government had obtained a prescription, the prescription would be invalid, precluding his

execution. Cf. Pls.’ Mot. for Preliminary Injunction, ECF No. 102 at 32 n.19 (“To be sure, it is

likely that the prescriptions obtained by these states do not comply with the requirements of the

FDCA and CSA.”).

       Nor is it sufficient to say that simply because the government attempts to select a lethal

injection drug that is humane, the drug must then be required to have its “probable therapeutic

benefits . . . outweigh its risk of harm,” Brown & Williamson, 529 U.S. at 140. The government’s

effort to make sure it chose a lethal injection protocol that is humane demonstrates its commitment

to compliance with the Eighth Amendment. It does not demonstrate that a drug intended for use

to execute an inmate has “probable therapeutic benefits . . . outweigh[ing] its risk of harm,” Id. at

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140, such that the drug could plausibly be subject to regulation under the FDCA. In the context

of capital punishment, that test can never be met because the risk of harm can never be outweighed

by any therapeutic benefits because death is the intended result.

         Nelson also argues that Defendants’ use of compounded pentobarbital violates the FDCA’s

“important limitations on outsourcing facilities” that produce compounded drugs. ECF No. 180

at 6. This argument also fails in light of the inapplicability of the FDCA, including its provisions

regarding compounded drugs. Indeed, as this Court recognized in rejecting a related arbitrary-

and-capricious challenge to the use of a compounded form of pentobarbital:
         Defendants’ use of compounding pharmacies, . . . must be viewed in light of the
         Supreme Court’s recognition that the government “can’t be faulted for failing to
         use lethal injection drugs that it’s unable to procure through good-faith efforts.”
         Bucklew v. Precythe, 139 S. Ct. 1112, 1125 (2019) (citing Glossip v. Gross, 135 S.
         Ct. 2726, 2737–38 (2015). . . . [T]he Supreme Court has approved the use of a
         compounded form of pentobarbital where domestic supplies were unavailable, and
         Defendants’ decision to do so was not arbitrary or capricious.
ECF No. 145 at 9. Under the circumstances this Court identified, it is implausible that the FDCA’s

provisions related to outsourcing facilities can be interpreted to ban the use of a compounded form

of pentobarbital in carrying out capital sentences.
   II.      DEFENDANTS ARE ENTITLED TO SUMMARY JUDGMENT ON COUNT X
         Count X alleges that the Commissioner of Food and Drugs has “acted in an arbitrary and

capricious manner by failing to exercise his authority to enforce the FDCA by not requiring the

persons who will dispense the pentobarbital to have a valid registration . . . [or] a valid medical

prescription.” Am. Compl. ¶ 182, ECF No. 92. Although Nelson purports to cross-move on Count

X, he fails to support his cross-motion on that claim with any argument. His cross-motion should

be denied for that reason alone.

         Moreover, Defendants are entitled to judgment on Count X because Nelson’s claim is

foreclosed by the fact, as explained above, that the FDA does not have the authority to regulate

articles intended for use in capital punishment. And regardless, Plaintiffs’ failure-to-enforce claim

would be foreclosed by Heckler v. Chaney, 470 U.S. 821 (1985). As the Supreme Court explained


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in Chaney, “[t]he FDA’s decision not to take . . . enforcement actions” to prevent the use of drugs

intended for use in lethal injection is “not subject to judicial review under the APA.” 470 U.S. at

837-38; see also 5 U.S.C. § 701(a)(2).

       Nor do sections 353(b)(1) and 353b of the FDCA––the provisions of the FDCA that the

Protocol allegedly violates––reflect Congressional “intent to circumscribe agency enforcement

discretion” and “provide[] meaningful standards for defining the limits of that discretion.” See

Chaney, 470 U.S. at 834. Section 353(b)(1) defines a circumstance in which a prescription drug

is deemed to be “misbranded,” but it provides no guidelines with respect to the exercise of FDA’s

enforcement discretion. Section 353b sets forth conditions under which drugs may be compounded

for human use in an “outsourcing facility” without having to comply with certain of the FDCA’s

requirements. When a compounded drug does not comply with section 353b’s conditions, section

355 provides the basis for enforcement, and the Supreme Court has already determined that section

355 does not provide law to apply. See Chaney, 470 U.S. at 835-36 (describing section 355 as

“simply irrelevant to the agency’s discretion to refuse to initiate proceedings.”); see also Jerome

Stevens Pharm. Inc. v. FDA, 402 F.3d 1249, 1258 (D.C. Cir. 2005) (plaintiff “fail[ed] to

demonstrate how 21 U.S.C. § 355 . . . provide[s] guidelines for the exercise of” the agency’s

enforcement discretion).

       Even apart from its failure to address whether articles intended for use in capital

punishment are regulated under the FDCA at all, the D.C. Circuit’s decision in Cook that Chaney

does not preclude review of the FDA’s enforcement choices under 21 U.S.C. § 381(a) regarding

drugs manufactured in unregistered foreign establishments has no application here.             The

prescription and compounding provisions of the FDCA that Nelson invokes, see 21 U.S.C.

§§ 353(b) and 353b, are distinct from Section 381’s import provisions at issue in Cook, which the

court concluded contained the sort of “specific ‘legislative direction in the statutory scheme’”

sufficient to overcome “the presumption against judicial review announced in Chaney.” 733 F.3d

at 6-7; see Chaney, 470 U.S. at 835 (“The [FDCA’s] enforcement provisions . . . commit complete

discretion to the Secretary to decide how and when they should be exercised”). Cook did not

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purport to abrogate Chaney and cannot be read expansively in this context, given Cook’s singular

focus on an import provision, 21 U.S.C. § 381, which is not at issue here.

       Furthermore, Nelson’s inability to force the FDA to act does not mean that he may seek

relief for BOP’s supposed violations of the FDCA. On the contrary, in the FDCA itself, Congress

specified that “all … proceedings for the enforcement, or to restrain violations, of this chapter shall

be by and in the name of the United States.” 21 U.S.C. § 337(a). This requirement forecloses

actions by private parties seeking to restrain third parties’ putative violations of the FDCA’s

general strictures, leaving “the United States with nearly exclusive enforcement authority” over

those matters. POM Wonderful LLC v. Coca-Cola Co., 573 U.S. 102, 109 (2014). The federal

government clearly does not believe that it is violating the FDCA by using pentobarbital to conduct

lethal injections, and that judgment is reserved to the Executive Branch under the FDCA’s plain

terms. Nelson cannot end-run the non-reviewability of the FDA’s enforcement decisions by

invoking the APA against BOP. Any conclusion to the contrary cannot be squared with the

Supreme Court’s instructions in Block v. Cmty. Nutrition Inst., 467 U.S. 340, 351 (1984), that APA

actions are precluded by federal statutes even where the statutes implicitly foreclose certain

private-party enforcement, let alone where, as here, they expressly do so. 3

                                          CONCLUSION

       For the foregoing reasons, this Court should deny Nelson’s Cross-Motion for Summary

Judgment on Counts VIII, X, and XI and instead enter judgment for Defendants on those claims.




3
  Notably, in denying Defendants’ motion to vacate the FDCA preliminary injunction, the D.C.
Circuit did not address the failure-to-enforce claim at issue in Count X, and its allowance of the
APA claim is not binding because it was vacated and has no precedential value. See Execution
Protocol Cases, No. 20-5206, Doc. No. 1851933, at 3 (“Finally, the government contends that
plaintiffs cannot argue that the Protocol is unlawful because only the FDA may enforce the
FDCA. But plaintiffs do not seek preliminary injunction on an enforcement claim, they claim
that the Protocol is contrary to law under the APA.”).


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Dated: August 10, 2020


Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on August 10, 2020, I caused a true and correct copy of foregoing to

be served on all counsel of record via the Court’s CM/ECF system. Pursuant to this Court’s August

20, 2019 Order, below is a list of all plaintiffs’ counsel of record (as most recently identified in the

signature pages of the Consolidated Amended Complaint, ECF No. 92):



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